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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF OHIO
                                        EASTERN DIVISION


    IN RE: NATIONAL PRESCRIPTION OPIATE                       MDL No. 2804
    LITIGATION
                                                              Case No. 17-md-2804
    This document relates to:
                                                              Judge Dan Aaron Polster
    Cabell County Commission v. AmerisourceBergen
    Drug Corporation, et al.
    Case No. 1:17-op-45053-DAP (S.D. W. Va.)

    City of Huntington, West Virginia v.
    AmerisourceBergen Drug Corporation, et al.
    Case No. 1:17-op-45054 (S.D. W. Va.)


                            DISTRIBUTOR DEFENDANTS’ FIRST SET OF
                               INTERROGATORIES TO PLAINTIFFS
          Pursuant to Rules 26 and 33 of the Federal Rules of Civil Procedure, Distributor Defendants1

request that each Plaintiff in the above-captioned civil actions individually respond to the following

Interrogatories in accordance with its obligations under the Federal Rules of Civil Procedure, the Local

Rules of the Northern District of Ohio, this Court’s Case Management Orders, and any other applicable
law or rules, within thirty (30) days of service of these Interrogatories.

          If any Plaintiff finds any term or other aspect of any of the Interrogatories vague, ambiguous, or

otherwise objectionable and intends to so object, counsel for Distributor Defendants offer to meet

promptly with counsel for that Plaintiff to endeavor to resolve any issues.

                                               DEFINITIONS

          1.     “Person” means any individual, corporation, firm, partnership, joint venture,

unincorporated association, trade association, governmental entity, dealer group, council or other



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 The Distributor Defendants are AmerisourceBergen Drug Corporation, Cardinal Health, Inc., H.D.
Smith Wholesale Drug Corporation, and McKesson Corporation.
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incorporated or unincorporated entity, business entity or group of individuals or entities, singular or

plural, as the content may require.

          2.   “Plaintiff” and “You” means each of the individual plaintiffs named in these actions,

including the executive and legislative branches, agencies, offices, departments, divisions, commissions,

agents, employees, boards, instrumentalities, vendors, administrators, and other persons or entities

acting on each plaintiff’s behalf or controlled by each plaintiff. When the pronoun “You” or “Your” is

used, its antecedent is each individual responding Plaintiff.

          3.   “Prescription Opioid(s)” refers to FDA-approved pain-reducing medications consisting of

natural, synthetic, or semisynthetic chemicals that bind to opioid receptors in a patient’s brain or body to

produce an analgesic effect, including, but not limited to, the Prescription Opioids referenced in the

Third Amended Complaint for the wholesale distribution of which You seek to hold the Distributor

Defendants liable.

          4.   “Suspicious Order(s)” means any order of Prescription Opioids placed by any source that

Plaintiff believes, suspects, or contends should have been reported to the United States Drug

Enforcement Agency (“DEA”) or West Virginia authorities, including the West Virginia Board of

Pharmacy, or otherwise as Plaintiff defines Suspicious Orders for purposes of its allegations. Suspicious

Orders are not limited to those placed with Distributor Defendants, but include those placed with any

entity.
          5.   “Timeframe” includes each year during which a Plaintiff claims any defendant in this

action engaged in any allegedly wrongful or unlawful conduct that caused damage to the Plaintiff or

such other time period as the parties may later agree or the Court determines should apply to each side’s

discovery in this action.

                                            INSTRUCTIONS

          1.   These interrogatories require supplemental responses to the extent required by the

Federal Rules of Civil Procedure. These interrogatories shall be deemed to be a continuing request for

supplemental responses pursuant to said Rules.

          2.   To the extent that You object to any of the interrogatories, answer as much of each such

interrogatory for which there is no objection, and state each basis for all objections made.

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          3.   You are requested to furnish all responsive information within Your custody, possession,

or control, including all information in the custody, possession, or control of anyone acting in

cooperation or concert with You or on Your behalf, and all information available to You upon

reasonable inquiry. To the extent You cannot answer an interrogatory fully because of a lack of

information, please answer those parts of the interrogatory about which You do have knowledge, and

identify those parts that You cannot answer fully.

          4.   If any document that You would have identified in response to any interrogatory was, but

is no longer, in Your possession or subject to Your control, in addition to all of the information

requested above of which You have knowledge, state the present location of the document.

          5.   Regarding any information requested that is not within Your personal knowledge, but as

to which You have been informed or have formed a belief, state that such information is furnished on

information and/or belief, and state the source(s) of Your information and/or the grounds for Your

belief.

          6.   All references to defined terms shall have the same meaning regardless of whether they

are capitalized.

          7.   Each Plaintiff must individually respond to each of these Interrogatories.

                                         INTERROGATORIES

          1.   Identify every Person likely to have discoverable information related to Your claims,
including, but not limited to, every Person upon whom You intend to rely in proving Your claims on

summary judgment or at trial, and every Person likely to have discoverable information that supports or

contradicts a position or claim that You have taken or intend to take in this action. For each Person

named in response to this Interrogatory, state the subject matter of the information possessed by that

Person, identify his or her current and, if relevant, former employment and job title(s), and identify any

statements and/or declarations by that Person of which You are aware.

          2.   Identify each of Your past or present departments, agencies, subdivisions or other

constituent entities, officials, employees, and representatives that possesses documents, data, or other

information relating to the allegations of the Third Amended Complaint, including, without limitation,

the use, abuse, misuse, prescribing, dispensing, sale, distribution, addiction to, and/or diversion of

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Prescription Opioids and/or other opioids, any harms that You claim to have suffered, and/or the

substantiation or quantification of any damages that You claim.

       3.      Identify each Person in Your entity, for each year of the Timeframe, who held the

following positions or their equivalents: mayor, city manager, city clerk, city council member, county

commissioner, county administrator, chief health officer, health department physician director, health

department nursing director, health department administrator, county sheriff, chief of police, head of the

city or county law enforcement narcotics unit, district attorney or other chief prosecutor, chief

prosecutor for drug crimes, court clerk, drug court coordinator or administrator, emergency medical

services director, 9-1-1 director, medical examiner, coroner, county assessor, county clerk, finance

director, budget director, planning and development director, city or county attorney, correctional

facility warden or supervisor, fire chief, director of family and/or children’s services, director of

substance abuse treatment services, human resources director, members of any task forces or other

entities former or used to address opioid abuse, and any other person whose work or other activities have

concerned opioid use and abuse and/or any element of the damages that You allege. Include as part of

Your response each Person’s name, position, and period of time during which he or she held the

position.

       4.      State the years during which You claim each Distributor Defendant engaged in conduct

for which You seek damages or injunctive relief.
       5.      State the date(s) and the manner in which You first became aware that Prescription

Opioids were being abused within Your geographic boundaries, that Prescription Opioids were being

diverted within Your geographic boundaries and/or by Your residents, and/or that addiction to

Prescription Opioids was occurring and/or increasing within Your geographic boundaries.

       6.      State the maximum number of pills or other dosage units of Prescription Opioids that

should properly have been distributed within Your geographic boundaries for legitimate medical

purposes during each year of the Timeframe, and explain how You calculated that number. If You are

unable to provide a number, explain how the number should be calculated and identify the input

information that would be needed to calculate it and the source(s) from which that information may be

obtained.

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       7.      State the number of pills or other dosage units of Prescription Opioids that were diverted

from legitimate purposes within Your geographic boundaries, and the number of pills or other dosage

units of Prescription Opioids that were dispensed for other than legitimate medical purposes within Your

geographic boundaries for each year during the Timeframe, and describe how each number was

calculated. If You are unable to provide a number, explain how the number should be calculated and

identify the input information that would be needed to calculate it and the source(s) from which that

information may be obtained.

       8.      Identify each pharmacy, doctor, healthcare provider, or other drug retailer that diverted or

wrongfully dispensed Prescription Opioids that You contend caused You injury.

       9.      Identify each investigation, arrest, or prosecution within Your geographical boundaries

for each year of the Timeframe that involved Prescription Opioids and/or other opioids, and for each,

describe the end result of the investigation, arrest, or prosecution, the connection, if any, to any

defendant in this litigation, and the data sources used to track this information.

       10.     Identify Your efforts during each year of the Timeframe to address “hazards to public

health and safety” that You attribute to the wrongful conduct of Distributor Defendants. See TAC ¶ 29.

Include as part of Your response the amount of taxpayer dollars You expended to fund these efforts and,

where the activity was funded in whole or in part from another source, the identity of that source and the

amounts provided.
       11.     Identify all efforts You have made to recover expenditures related to Prescription Opioid

addiction, misuse, abuse, or overdose from any Person, including (without limitation) insurers,

government entities, manufacturers, pharmacists, pharmacies, doctors, dentists, nurses, clinics, drug

dealers, drug traffickers, or drug trafficking organizations. For each effort, identify the amount of

expenditures, if any, that You recovered.

 October 25, 2019                                           DISTRIBUTOR DEFENDANTS

                                                            By Counsel

                                                            /s/ Shannon E. McClure
                                                            Robert A. Nicholas
                                                            Shannon E. McClure


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